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                                                                    FILED
                                                                       SEP 2 7 2017
                                                                    Clerk, U.S. District Court
                                                                       District Of Montana
                                                                              Billings



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


 UNITED STATES OF AMERICA,
                                                 CR 16-117-BLG-SPW-02
                      Plaintiff,

 vs.                                             ORDER

 DAVID BLAINE, JR.,

                      Defendant.

       For the reasons stated on the record, DAVID BLAINE, JR. is hereby

released from the custody of the U.S. Marshal Service.
                      ~'/~
       DATED this   c?/ day of September, 2017.


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                                            SUSANP. WATTERS
                                            U.S. DISTRICT JUDGE




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